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                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
________________________________________________
                                                 :
WORLD WIDE PACKAGING, LLC,                       :
                                                 :
                        Plaintiff,               :
                                                 :
                        v.                       :                     Court No. 21-00189
                                                 :
UNITED STATES,                                   :
                                                 :
                        Defendant.               :
                                                 :

       JOINT STATUS REPORT, REQUEST TO EXTEND STAY, AND PROPOSED
                           SCHEDULING ORDER

       Pursuant to the Court’s August 6, 2021 Order, Plaintiff and Defendant hereby submit “a

joint status report,” as well as a “request to extend the stay” currently in effect that will expire on

Monday, February 7, 2022. ECF 17, at 1. The parties timely submit this joint status report and

stay request. Id. (requiring the filing of a joint status report and stay request “on or before Friday,

February 4, 2022”). This joint status report follows the joint status reports filed by the parties on

October 29, 2021 and December 20, 2021, respectively. ECF 20, 22.

       Counsel to Defendant requires additional time to determine whether settlement is feasible

in this case. Counsel to Defendant has consulted with its client, U.S. Customs & Border Protection

(“CBP”), regarding Plaintiff’s settlement proposal and has received CBP’s initial reactions to the

settlement proposal. However, counsel to Defendant requires additional time to independently

evaluate Plaintiff’s settlement proposal, which pertains to complex customs valuation law, and to

consult further with CBP. Due to overlapping commitments in other actions before this Court and

other tribunals, counsel to Defendant has determined that an extension of the stay by 90 days – to

Monday, May 9, 2022 – would provide sufficient time to evaluate Plaintiff’s settlement proposal


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and to engage in additional consultations with CBP. Plaintiff has no objection to an additional 90-

day stay in order to allow counsel to Defendant sufficient time to fully evaluate Plaintiff’s

settlement proposal. As a result, the parties respectfully request that the Court extend the stay to

Monday, May 9, 2022. In support of their request, the parties have attached a proposed scheduling

order for the Court’s consideration.

       The parties remain committed to exhausting all options for a possible negotiated solution

to this dispute. The parties look forward to meeting with the Court on Monday, February 7, 2022,

to answer any questions regarding this joint status report or the request to extend the stay.

       Respectfully submitted,

  /s/ Lars-Erik A. Hjelm                              BRIAN M. BOYNTON
 Lars-Erik A. Hjelm                                   Acting Assistant Attorney General
 Suzanne Kane
 Devin S. Sikes                                       PATRICIA M. McCARTHY
                                                      Director
 AKIN GUMP STRAUSS HAUER & FELD LLP
 2001 K Street, NW                                     /s/ Justin R. Miller
 Washington, D.C. 20006                               JUSTIN R. MILLER
                                                      Attorney-In-Charge
 Counsel to Plaintiff                                 International Trade Field Office

                                                       /s/ Peter A. Mancuso
                                                      PETER A. MANCUSO
                                                      Trial Attorney
                                                      Department of Justice, Civil Division
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                                                      New York, New York 10278
                                                      Tel. (212) 264–0484 or 9230

                                                      Attorneys for Defendant


Dated: February 4, 2022




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                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
________________________________________________
                                                 :
WORLD WIDE PACKAGING, LLC,                       :
                                                 :
                        Plaintiff,               :
                                                 :
                        v.                       :                 Court No. 21-00189
                                                 :
UNITED STATES,                                   :
                                                 :
                        Defendant.               :
                                                 :

                             PROPOSED SCHEDULING ORDER

         Upon consideration of the parties’ joint status report, request to extend the stay, and

proposed scheduling order, it is hereby

         ORDERED that the stay in effect in the above-captioned case is extended until Monday,

May 9, 2022; and it is further

         ORDERED that the parties shall submit a joint status report and either a proposed

scheduling order or request to extend the stay on or before Friday, May 6, 2022.




Dated:
                                                             Claire R. Kelly, Judge
